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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



    AMERICAN FOREIGN SERVICE
    ASSOCIATION, et al.,

          Plaintiffs,

    v.                                                Civil Action No. 1:25-cv-00352-CJN

    PRESIDENT DONALD TRUMP, et al.,

          Defendants.



                                NOTICE OF RELATED CASES

         The Government respectfully submits that two actions pending in this District and

presently pending before The Honorable Amir H. Ali, AIDS Vaccine Advocacy Coalition (No. 25-

cv-400), and Global Health Council (No. 25-cv-402), are related to this earlier-filed action,

American Foreign Service Association et al. v. Trump et al. (No. 25-cv-352) 1, presently pending

before this Court.

         Under Local Civil Rule 40.5(a)(3), cases are properly deemed related when they “(i) relate

to common property, or (ii) involve common issues of fact, or (iii) grow out of the same event or

transaction or (iv) involve the validity or infringement of the same patent.” Plaintiffs in AIDS

Vaccine Advocacy Coalition listed American Foreign Service Association as a related matter after

they brought suit, clearly signaling based on their familiarity with this action—being counsel in



1
  Here, and in earlier filings, the Government has referred to this matter as American Foreign
Service Association et al. v. Trump et al. (1:25-cv-352), based on the order in which the parties
were listed on the complaint in that case. The court in that case, however, docketed the case as
American Federation of Government Employees v. Trump et al. The two captions refer to the same
case.
                                                 1
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it—that they view them as at least potentially related. And the plaintiffs in Global Health Council

“do not dispute the characterization of [that] action in Defendants’ Notice of Related Case, ECF

13” as related. Global Health Council, ECF No. 15 (No.25-cv-402). Moreover, the Global Health

Council plaintiffs also acknowledge that “the claims in this case also involve common issues of

fact and arise out of common transactions with [this case].” Id. Therefore, at this time, no party

appears to argue that the three cases are not actually related. 2

        It makes sense that no party disputes the relatedness of the three cases, because all three

involve common issues of fact and grow out of the same transaction or occurrence. At core, these

three actions all challenge the propriety of Executive Order No. 14,169, “Reevaluating and

Realigning United States Foreign Aid,” 90 Fed. Reg. 8619 (Jan. 20, 2025), ), and related actions

taken by U.S. Agency for International Development (USAID). Moreover, the three complaints

all make nearly completely overlapping legal claims:

    •   American Foreign Service Association: Separation of Powers and Take Care Clause
        (Compl ¶¶ 49-71), Administrative Procedures Act (Compl ¶¶ 72-75)

    •   AIDS Vaccine Advocacy Coalition: Separation of Powers and Take Care Clause (Compl.
        ¶¶ 45-59), Administrative Procedures Act (Compl. ¶¶ 60-66)

    •   Global Health Council: Separation of Powers and Take Care Clause (¶¶ 123-28),
        Administrative Procedures Act (Compl. ¶¶ 111-22)

Although the Global Health Council case includes a single additional claim (that President

Trump’s actions were ultra vires, see Global Health Council, Compl. ¶¶ 129-31), that claim

appears to be derivative of the other claims.


2
 The Honorable Loren L. Alikhan on February 11, 2025 concluded that AIDS Vaccine Advocacy
Coalition and Global Health Council were not properly deemed related under Local Civil Rule
40.5(a)(3) to an action pending before her, National Council of Nonprofits v. Office of Management
and Budget, No. 25-CV-239 (LLA), and directed transfer of the two actions to the Calendar and
Case Management Committee for reassignment, but did not reach the question whether those two
actions are properly deemed related to the instant action. ECF No. 12 (No. 25-cv-400).
                                                  2
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        Additionally, although not determinative, both AIDS Vaccine Advocacy Coalition and

American Foreign Services Association involve the same plaintiffs’ counsel, compare AIDS

Vaccine Advocacy Coalition, Compl. at 21, with American Foreign Service Association, Compl.

at 30. Assignment of the three cases to the same Court would conserve the resources of the parties,

counsel, and the Court and avoid the possibility of conflicting rulings on the same issues.

        Accordingly, the Government respectfully requests that AIDS Vaccine Advocacy Coalition

(No. 25-cv-400) and Global Health Council (No. 25-cv-402) be transferred to this Court as cases

related to the first-filed American Foreign Service Association et al. v. Trump et al. (No. 25-cv-

352).




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Dated: February 12, 2025                  Respectfully submitted,
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